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NOTE CHANGES lV|ADE BY THE COURT 3`*" °_ b \_ U-S~ DlSIRIGrcou

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UNITED STATES DISTRICT COURT SEP l 0 20
CENTRAL DISTRICT OF CALIFORNIA t |2

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FEDERAL TRADE COMMISSION,

 

 

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Plaintiff, `
sACv12 - 1504 JST (JPRX)
v. Case No.
NELSON GAMBLE & ASSOCIATES 4 . 4-.__ . m . mm mm . \'
LLC, also d/b/a Nelson Gamble & \
Assoc1ates, P.C. and Nelson Parker jr EX PARTE "
Gamble & Banks LLP; JACKSON EMPGRA Y RESTRAINING
HUNTER MORliIS & KNIGHT LLP; ORDER WITH ASSET FREEZE,
BLACKROCK PROFESSIONAL IMMEDIATE ACCESS TO
CORPORATION; MEKHIA BUSINESS PREMISES LIMITED
CAPITAL LLC' and EXPEDITED DISCOVERY AND ,
JEREMY R. NELSON, AN ORDER T 0 SHOW CAUSE
WHY A PRELIMINARY
Defendants. §§S]IIJJENCTION SHOULD N()T

 

 

§lalntrff Fe;leral Trade Commission (“FTC”), has filed a complaint seeking
a pen§§anecrif$inju%n and other equitable relief, pursuant to Sections l3(b) and
19 of§§e §§e:d‘§:ral §Trade Commission Act (“FTC Act”), 15 U.S.C. §§ 53(b) and
57b, ge §§:Qr:narl<eting and Consumer Fraud and Abuse Prevention Act
(“Tef§ma§;i§éting lacr”), 15 U.s.C. § 6101 er seq., and section 917(¢) ofthe
Elect€i:%ni§§und;;]l"ransfer Act (“EFTA”), 15 U.S.C. § l693o(c), and a motion for
temporary restraining order (“TRO” or “Order”) pursuant to Rule 65(b) of the
Federal Rules of Civil Procedure.

FINDINGS OF FACT
This Court, having considered the complaint, the TRO motion, and all

attached declarations, exhibits, and memorandum of law filed in support, finds

that:

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This Court has jurisdiction over the subject matter of this case, there is good
cause to believe it Will have jurisdiction over all the parties hereto, and
venue in this district is proper;

There is good cause to believe that Defendants Nelson Gamble & Associates
LLC (also d/b/a Nelson Gamble & Associates, P.C., and Nelson Parker
Gamble & Banks, LLP), Jackson Hunter Morris & Knight LLP, BlackRock
Professional Corporation, Mekhia Capital LLC, and Jeremy R. Nelson, have
engaged and are likely to continue to engage in acts or practices that violate
Section 5(a) of the FTC Act, 15 U.S.C. § 45(a); the FTC’s Telemarketing
Sales Rule (“TSR”), 16 C.F.R. Part 310; Section 907(a) of EFTA, 15 U.S.C.
§ 1693 e(a); Section 205.10(b) of the F ederal Reserve Board’s Regulation E,
12 C.F.R. § 205.10(b); and Section 1005.10(b) of the Consumer Financial
Protection Bureau’s Regulation E, 12 C.F.R. § 1005.10(b), and that the FTC
is therefore likely to prevail on the merits of this action;

There is good cause to believe that consumers Will suffer immediate and
continuing harm from Defendants’ ongoing violations of Section 5(a) of the
FTC Act, the TSR, the EFTA, and Regulation E unless Defendants are
restrained and enjoined by Order of this Court;

There is good cause to believe that immediate and irreparable damage to the
Court’s ability to grant effective final relief for consumers in the form of
monetary restitution and disgorgement of ill-gotten gains Will occur from the
transfer, dissipation, or concealment by Defendants of their assets or
business records unless Defendants are immediately restrained and enjoined
by Order of this Court; and that in accordance With Fed. R. Civ. P. 65(b) and
Local Rule 7-19.2, the interest of justice requires that the FTC’s Motion be

heard ex parte Without prior notice to Defendants. Therefore, there is good

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cause for relieving the FTC of the duty to provide Defendants with prior
notice of the FTC’s Motion;

5. Good cause exists for permitting the FTC immediate access to Defendants’
business premises, and permitting the FTC to take expedited discovery;

6. Weighing the equities and considering the FTC’s likelihood of ultimate
success, a temporary restraining order With an asset freeze, expedited

discovery as to the existence and location of assets and documents, and other

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equitable relief is in the public interest; and

10 7. No security is required of any agency of the United States for issuance of a
11 TRO, Fed. R. Civ. P. 65(c);

12 DEFINITIONS

13 A. “Assets” means any legal or equitable interest in, right to, or claim to, any

14 real or personal property, including, Without limitation, chattels, goods,
, 15 instruments, equipment, fixtures, general intangibles, leaseholds, mail or

16 other deliveries, inventory, checks, notes, accounts, credits, contracts,

17 receivables, shares of stock, and all cash, Wherever located.

18 B. “Assisting others” includes, but is not limited to:
19

l. performing customer service functions, including, but not limited to,
20 receiving or responding to consumer complaints;
:; 2. formulating or providing, or arranging for the formulation nor
23 provision of, any advertising or marketing material, including, but not
24 limited to, any telephone sales script, direct mail solicitation, or the
25 design, text, or use of images of any Internet website, email, or other
26 electronic communication;
27 3. formulating or providing, or arranging for the formulation or
28 provision of, any marketing support material or service, including but

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not limited to; Web or Internet Protocol addresses or domain name
registration for any Internet Websites, affiliate marketing services, or

media placement services;

4. providing names of, or assisting in the generation of, potential
customers;

5. performing marketing, billing, or payment services of any kind; and

6. acting or serving as an owner, officer, director, manager, or principal
of any entity.

“Competent and reliable evidence” means tests, analyses, research,
studies, or other evidence based on the expertise of professionals in the
relevant area, that has been conducted and evaluated in an objective manner
by persons qualified to do so, using procedures generally accepted in the
profession to yield accurate and reliable results.

“Consumer” means any person.

“Corporate Defendants” means Nelson Gamble & Associates LLC,
Jackson Hunter Morris & Knight LLP, Mekhia Capital LLC, and Blackrock
Professional Corporation, and their successors, assigns, affiliates, or
subsidiaries, and each of them by Whatever names each might be known.
“Customer” means any person Who has paid, or may be required to pay, for
products, services, plans, or programs offered for sale or sold by any other
person.

“Debt Relief product or service” means any product, service, plan, or
program represented, expressly or by implication, to renegotiate, settle, or in
any Way alter the terms of payment or other terms of the debt or obligation,

between a person and one or more unsecured creditors or debt collectors,

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including, but not limited to, a reduction in the balance, interest rate, or fees

l owed by a person to an unsecured creditor or debt collector.

“Defendants” means the Individual Defendant and the Corporate

Defendants, individually, collectively, or in any combination, and each of

them by whatever names each might be known.

“Document” is synonymous in meaning and equal in scope to the usage of

the term in Federal Rule of Civil Procedure 34(a), and includes writings,

drawings, graphs, charts, photographs, audio and video recordings, computer

records, and other data compilations from which the information can be

obtained and translated, if necessary, through detection devices into

reasonably usable form. A draft or non-identical copy is a separate

document within the meaning of the term.

“Financial Institution” means any bank, savings and loan institution, credit

union, or any financial depository of any kind, including, but not limited to,

any brokerage house, trustee, broker-dealer, escrow agent, title company,

commodity trading company, or precious metal dealer.

“Financial related product or service” means any product, service, plan,

or program represented, expressly or by implication, to:

A. provide any consumer, arrange for any consumer to receive, or assist
any consumer in receiving, credit, debit, or stored value cards;

B. improve, or arrange to improve, any consumer's credit record, credit
history, or credit rating;

C.' provide advice or assistance to any consumer with regard to any
activity or service the purpose of which is to improve a consumer's

credit record, credit history, or credit rating;

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D. provide any consumer, arrange for any consumer to receive, or assist
any consumer in receiving, a loan or other extension of credit;

E. provide any consumer, arrange for any consumer to receive, or_, assist
any consumer in receiving any service represented, expressly or by
implication, to renegotiate, settle, or in any way alter the terms of
payment or other terms of any debt or obligation (other than a debt or
obligation secured by a mortgage on a consumer's dwelling) between
a consumer and one or more secured creditors, servicers, or debt
collectors.

“Individual Defendant” means Jeremy Rommel Nelson.

“Material” means likely to affect a person’s choice of, or conduct

regarding, goods or services.

“National Do Not Call Registry” means the National Do Not Call registry,

which is the “do-not-call” registry maintained by the Federal Trade

Commission pursuant to 16 C.F.R. § 310.4(b)(l)(iii)(B).

“Person” means a natural person, an organization or other legal entity,

including a corporation, partnership, sole proprietorship, limited liability

company, association, cooperative, or any other group or combination acting
as an entity.

“Telemarketing” means a plan, program, or campaign (whether or not

8 covered by the Telemarketing Sales Rule, 16 C.F.R. Part 310), which is

n conducted to induce the purchase of goods or services or a charitable

contribution by use of one or more telephones
The terms “and” and “or” shall be construed conjunctively or disjunctiver

as necessary to make the applicable phrase or sentence inclusive rather than

exclusive

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1 ORDER
2 PROHIBITED REPRESENTATIONS
3 I. IT IS THEREFORE ORDERED that in connection with the advertising,
4 marketing, promotion, offering for sale, or sale of any debt relief product or
5 service, Defendants and their successors, assigns, officers, agents, servants,
6 employees, and attorneys, and those persons or entities in active concert or
; participation with any of them who receive actual notice of this Order by
9 personal service or otherwise, whether acting directly or through any
10 corporation, subsidiary, division, or other device, are hereby temporarily
11 restrained and enjoined from:
12 A. Misrepr'esenting, or assisting others who are misrepresenting,
13 expressly or by implication, any of the following:
14 l. That consumers who use any debt relief product or service will
15 have their debts substantially reduced;
16 2 That any Defendant or any other person is a lawyer or law firm
17 or employs a lawyer or law firm for the purpose of providing
18 debt relief products or services;
19 3. . The degree of success that any Defendant or any other person
20 - has had in performing any debt relief product or service;
:; 4. The nature of any Defendant’s or any other person’s
23 relationship With any debt holder or servicer, or other secured
24 or unsecured lender;
25 5 . The amount of time it will take or is likely to take to obtain or
26 _ arrange a renegotiation, settlement, modification, or other
27 alteration of the terms of any debt; or
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II.

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6. Any other fact material to a consumer’s decision whether to
purchase any debt relief product or service; and
B. Representing, or assisting others who are representing, expressly or by
implication, the benefits, performance, or efficacy of any debt relief
product or service, unless at the time such representation is made,

Defendants possess and rely upon competent and reliable evidence

that substantiates that the representation is true.

v RESTRICTIGNS ON TELEMARKETING
IT IS FURTHER ORDERED that, in connection with the telemarketing of
any product or service, Defendants and their successors, assigns, officers,
agents, servants, employees, and attorneys, and those persons or entities in
active concert or participation With any of them who receive actual notice of
this Order by personal service or otherwise, whether acting directly or
through any corporation, subsidiary, division, or other device, are hereby
temporarily restrained and enjoined from:
A. `misrepresenting, directly or by implication:

l. The amount of money or the percentage of the debt amount that
customers will save by using any product or service, including
but not limited to any debt relief product or service; and

2. That any person is a lawyer or law firm or employs a lawyer or

- law firm for the purpose of providing debt relief products or 1
services; '
B. causing billing information to be submitted for payment, directly or
indirectly, without the express informed consent of the customer;
C. requesting or receiving payment of fees or consideration for debt

relief services:

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1 l. before (A) they have renegotiated, settled, reduced, or

2 otherwise altered the terms of at least one debt pursuant to a

3 settlement agreement, debt management plan, or other such

4 y valid contractual agreement executed by the customer; and (B)

5 the customer has made at least one payment pursuant to that

61 .agreement; and/or

; 2. when, to the extent that debts enrolled in a service are

9 renegotiated, settled, reduced, or otherwise altered individually,
10 the fee or consideration either (A) does not bear the same
11 proportional relationship to the total fee for renegotiating,
12 settling, reducing, or altering the terms of the entire debt
13 balance as the individual debt amount bears to the entire debt
14 amount, or (B) is not a percentage of the amount saved as a
15 result of the renegotiation, settlement, reduction, or alteration
16 and that percentage does not change from one individual debt to
17 another;
18 D. initiating, or causing others to initiate, an outbound telephone call to a
19 person’s telephone number on the National Do Not Call Registry;
20 E. initiating, or causing others to initiate, an outbound telephone call to a
:; person who previously has stated that he or she does not wish to
23 receive such a call made by or on behalf of the seller whose goods or
24 services are being offered; _
25 F. initiating, or causing others to initiate, outbound telephone calls that
26 fail to transmit the telephone number and name of the telemarketer or
27 seller to any caller identification service in use by a recipient of a
28 telemarketing call;

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III.

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G. making, or causing others to make, outbound telephone calls that
deliver prerecorded messages to induce the purchase of goods or
services when the persons to whom these telephoned calls were made
had not signed an express agreement, in writing, authorizing the seller
to place prerecorded calls to such persons;

H. making, or causing others to make, outbound telephone calls that
deliver a prerecorded message in which the telemarketer or message
fails to disclose truthfully, promptly, and in a clear and conspicuous
manner to the person receiving the call:

l. The identity of the seller;
2. That the purpose of the call is to sell goods or services; and
3. The nature of the goods or services;

I. causing a telephone to ring, or engaging a person in telephone 1
conversation, repeatedly or continuously with intent to annoy, abuse,
or harass any person at the called number.

PROHIBITION ON UNAUTHORIZED WITHDRAWALS

IT IS FURTHER ORDERED that Defendants and their successors,

assigns, officers, agents, servants, employees, attorneys, and those persons

or entities in active concert or participation with any of them who receive
actual notice of this Order by personal service or otherwise, Whether acting
directly or through any corporation, subsidiary, division, or other device, are
hereby temporarily restrained and enjoined from:

A. Causing consumers’ bank accounts to be debited without having
obtained consumers’ express informed consent

B. making electronic fund transfers from a consumer’s account on a

recurring basis without:

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IV.

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l. Obtaining a written authorization signed or similarly
authenticated from consumers for preauthorized electronic fund
transfers from the accounts; and

2. Providing to the consumers a copy of a written authorization
signed or similarly authenticated by the consumers for
preauthorized electronic fund transfers from the consumers’
accounts.

RESTRICTION ON COLLECTION OF ADVANCE FEES

IT IS FURTHER ORDERED that Defendants and their successors,
assigns, officers, agents, servants, employees, and attorneys, and those
persons or entities in active concert or participation with any of them who
receive actual notice of this Order by personal service, facsimile
transmission, email, or otherwise, whether acting directly or through any
corporation, subsidiary, division, or other device, in connection with the
advertising, marketing, promotion, offering for sale, sale, or provision of any
debt relief product or service, are hereby_temporarily restrained and enjoined
from requesting or accepting payment of any fee or consideration in advance
of performing each and every debt relief product or service that Defendantsl
contracted to perform or represented would be performed 1

DISABLEMENT OF WEBSITES AND PRESERVATION OF

1 ELECTRONIC RECORDS

IT IS FURTHER ORDERED that, immediately upon service of the Order
upon them, (1) any person hosting any Internet website for, or on behalf of,
any Defendant, and (2) Defendants and their successors, assigns, officers,
agents, servants, employees, and attorneys, and those persons or entities in

active concert or participation with any of them who receive actual notice'of

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this Order by personal service, facsimile transmission, email, or otherwise,
whether acting directly or through any corporation, subsidiary, division, or
other device, shall: 1
A. Immediately do whatever is necessary to ensure that any Internet
website used by Defendants for the advertising, marketing, promotion,
offering for sale, sale, or provision of any debt relief product or
service, including, but not limited to nelsongamble.com,
stopmodfraud.com, fhagateway.com, platinumfha.com,
myfreddiemac.com, myfanniemae.corn, cmbmortgagecorp.com,
closeyourhomeloan.com, drlgp,c.com, drlgpa.com, nelsongamble.org,
nelsongamble.net, nelsongamble.info, checkmatedebt.info,
checkmatedebt.org, checkmatedebt.com,
checkrnatedebtsolutions.com, checkmatedebt.net, jhmklaw.com,
jhmklaw.org, jhmklaw.net, mekhiacapital.com, jhmkllp.com,
jhmkllp.net, debtsettlementscam.org, blackrockmortgage.com,
blackrockpc.com, blackrockllp.com, blackrocklaw.com,
blackrocklawgroup.com, and blackrocklaw.net, cannot be accessed by
the public;
Prevent the destruction or erasure of any Internet website used by Defendant
for the advertising, marketing, promotion, offering for sale, sale, or
provision of any debt relief product or service, including but _not limited to
nelsongamble.com, stopmodfraud.com, fhagateway.com, platinumfha.com,
myfreddiemac.com, myfanniemae.com, cmbmortgagecorp.com,
closeyourhomeloan.com, drlgpc.com, drlgpa.com, nelsongamble.org,‘
nelsongamble.net, nelsongamble.info, checkmatedebt.info,

checkmatedebt.org, checkmatedebt.com, checkmatedebtsolutions.com,

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VI.

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mekhiacapital.com, jhmkllp.com, jhmkllp.net, debtsettlementscam.org,
blackrockmortgage.com, blackrockpc.com, blackrockllp.com,
blackrocklaw.com, blackrocklawgroup.com, and blackrocklaw.net, by
preserving such website in the format in which it is maintained currently;
and 1
lmmediately notify in writing counsel for the FTC of any other Internet
website operated or controlled by any Defendant not listed in Section VA. or
V.B above.

SUSPENSION OF INTERNET DOMAIN NAME REGISTRATIONS
IT IS FURTHER ORDERED that any domain name registrar shall
suspend the registration of any Internet website used by Defendants for the
advertising, marketing, promotion, offering for sale, sale, or provision of any
debt relief product or service, including, but not limited to
nelsongamble.com, stopmodfraud.com, fhagateway.com, platinumfha.com,
myfreddiemac.com, myfanniemae.com, cmbmortgagecorp.com,
closeyourhomeloan.com, drlgpc.com, drlgpa.com, nelsongamble.org,
nelsongamble.net, nelsongamble.info, checkmatedebt.info, _
checkmatedebt.org, checkmatedebt.com, checkmatedebtsolutions.com,
checkmatedebt.net,_jhmklaw.com, jhmklaw.org, jhmklaw.net,
mekhiacapital.com, jhmkllp.com, jhmkllp.net, debtsettlementscam.org,
blackrockmortgage.com, blackrockpc.com, blackrockllp.com,
blackrocklaw.com, blackrocklawgroup.com, and blackrocklaw.net, and
provide immediate notice to counsel for the FTC of any other Internet
domain names registered by Defendant or his officers, agents, servants,

employees, and attorneys, and those persons in active concert or

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1 participation with Defendant who receive actual notice of this Order by

2 personal service or otherwise.

3 ASSET FREEZE

4 VII. IT IS FURTHER ORDERED that Defendants are hereby temporarily

5 restrained and enjoined from directly or indirectly:

6 A. Transferring, liquidating, converting, encumbering, pledging, loan`ing,

; selling, concealing, dissipating, disbursing, assigning, spending,

9 withdrawing, granting a lien or security interest or other interest in, or
10 otherwise disposing of any funds, real or personal property, accounts,
11 contracts, consumer lists, or any other assets, or any interest therein,

12 wherever located, including outside the United States, that are (1)
13 owned or controlled, directly or indirectly, by any Defendant(s), in
14 whole or in part, or held, in whole or in part for the benefit of any
15 Defendant(s); (2) in the actual or constructive possession of any
16 Defendant(s); or (3) owned, controlled by, or in the actual or
17 constructive possession of any corporation, partnership, or other entity
18 directly or indirectly owned, managed, or controlled by, or under
19 common control with any Defendant(s), including but not limited to,
20 any assets of Checkmate Debt Solutions, lnc., Debt Relief Law Group
:; PC, Lexxani Insurance Services Inc., CMB Mortgage Corporation, J.
23 Nelson Financial Enterprises Inc. (d/b/a Venture Capital Investments),
24 and the Nelson Family Trust, and any assets held by, for, or under the _
25 name of any Defendant(s) at any bank, savings and loan institution, or
26 bank of any Defendant(s), or with any broker-dealer, escrow agent,
27 title company, commodity trading company, precious metal dealer, or
28 other financial institution or depository of any kind;

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1 B. Opening or causing to be opened any safe deposit boxes titled in the
2 name of any Defendant(s), or subject to access by any Defendant(s);
3 C. lncurring charges or cash advances on any credit card, debit card, or
4 checking card issued in the name, singly or jointly, of any
5 Defendant(s);
6 D. Obtaining a personal or secured loan;
; E. lncurring liens or encumbrances on real property, personal property or
9 other assets in the name, singly or jointly, of any Defendant(s); and
10 F. Cashing any checks from consumers, clients, or customers of any
11 ' Defendant(s).
12 G. The funds, property, and assets affected by this Section shall include:
13 (a) all assets of each Defendant as of the time this Order is entered,
14 and (b) those assets obtained after entry of this Order that are obtained
15 from any debt relief activities that predate the entry of this Order.
16 RETENTION OF ASSETS AND RECORDS BY FINANCIAL
17 INsTITUTIONs AND oTHER THIRD PARTIEs
18 VIII. IT IS FURTHER ORDERED that any financial or brokerage institution or
19 depository, escrow agent, title company, commodity trading company, trust,
20 entity, or person that holds, controls, or maintains custody of any account or
:; asset owned or controlled by any Defendant(s), or has held, controlled, or
22 maintained any account or asset of, or on behalf of, any Defendant(s),~ upon
2 4 service with a copy of this Order, shall:
25 A. Hold and retain within its control and prohibit Defendants from
26 withdrawing-, removing, assigning, transferring, pledging,
27 encumbering, disbursing, dissipating, converting, selling, gifting, or
28

otherwise disposing of any of the assets, funds, or other property held

Page 15 of 28

 

 

 

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by or on behalf of any Defendant(s) in any account maintained in the

name of or for the benefit of any Defendant(s), in whole or in part,

except as directed by further order of the Court;

Deny the Defendants access to any safe deposit box titled in the name

of any Defendant(s), individually or jointly, or subject to access by

any Defendant(s), whether directly or indirectly,

Provide counsel for Plaintiff, within three (3) business days after

being served with a' copy of this`Order, a certified statement setting

forth:
1 .

the identification number of each such account or asset titled (1)
in the name, individually or j ointly, of any Defendant(s); (2)
held on behalf of, or for the benefit of, any Defendant(s); (3)
owned or controlled by any Defendant(s); or (4) otherwise
subject to access by any Defendant(s), directly or indirectly;

the balance of each such account, or a description of the nature
and value of such asset as of the close of business on the day on
which this Order is served, and, if the account or other asset has
been closed or removed, the date closed or removed, the total
funds removed in order to close the account, and the name of
the person or entity to whom such account or other asset was
remitted;

the identification of any safe deposit box that is either titled in
the name of any Defendant(s), or is otherwise subject to access
by any Defendant(s); and

if an account, safe deposit box, or other asset has been closed or

removed, theidate closed or removed, the balance on such date,

Page 16 of 28

 

 

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IX.

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_ and the manner in which such account or asset was closed or
removed.

D. Provide counsel for Plaintiff, within three_(3) business days after
being served with a request, copies of all documents pertaining to
such account or asset, including but not limited to originals or copies
of account applications, account statements, signature cards, checks,
drafts, deposit tickets, transfers to and from the accounts, all other
debit and credit instruments or slips, currency transaction reports,
1099 forms, and safe deposit box logs; provided that such institution
or custodian may charge a reasonable fee.

FINANCIAL REPORTS AND ACCOUNTING

IT ls FURTHER oRDEREl) that eaeh Defendant within three (3)

business days of service of this ()rder, shall prepare and deliver to counsel

for the FTC: 1

F or the Individual Defendant, a completed financial statement accurate as of

the date of service of this Order upon such Defendant (unless otherwise

agreed upon With FTC counsel) on the form of Attachment A to this Order
captioned “Form Re: Financial Statement for Individual Defendant.”

F or Corporate Defendants, a completed financial statement accurate as of the

date of service of this Order upon such Defendant (unless otherwise agreed

upon with FTC counsel) in the form of Attachment B to this Order captioned

“Form Re: Financial Statement for Business Entity Defendant.”

F or each Defendant, a completed statement, verified under oath, of all

payments, transfers or assignments of funds, assets, or property worth

$1,000 or more since January 1, 2009. Such statement shall include: (a) the

amount transferred or assigned; (b) the name of each transferee or assignee;

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1 (c) the date of the transfer or assignment; and (d) the type and amount of

2 consideration paid the Defendant. Each statement shall specify the name

3 and address of each financial institution and brokerage firm at which the

4 Defendant has accounts or safe deposit boxes. Said statements shall include

5 assets held in foreign as well as domestic accounts.

6 coNsUMER cREl)IT REPoRTs

; X. IT IS FURTHER ORDERED that Plaintiff may obtain credit reports

9 concerning any Defendants pursuant to Section 604(a)(1) of the Fair Credit
10 Reporting Act, 15 U.S.C. § 1681b(a)(l), and that, upon written request, any
11 credit reporting agency from which such reports are requested shall provide
12 them to Plaintiff. `

13 REPATRIATION OF FOREIGN ASSETS

14 XI. IT IS FURTHER ORDERED that, within five (5) business days following
15 the service of this Order, each Defendant shall:

16 A. Provide counsel for the FTC with a full accounting of all assets,

17 accounts, funds, and documents outside of the territory of the United
18 States that are held either: (1) by them; (2) for their benefit; (3) in
19 trust by or for them, individually or jointly; or (4) under their direct or
20 indirect control, individually or jointly;
:; B. Transfer to the territory of the United States all assets, accounts,
22 funds, and documents in foreign countries held either: (l) by them; (2)
2 4 for their benefit; (3) in trust by or for them, individually or j ointly; or
25 (4) under their direct or indirect control, individually or jointly;
26 C. Hold and retain all repatriated assets, accounts, funds, and documents,
27 and prevent any transfer, disposition, or dissipation whatsoever of any
28 such assets, accounts, funds, or documents; and

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Provide the FTC access to all records of accounts or assets of the
Corporate Defendants and Individual Defendants held by financial
institutions located outside the territorial United States by signing the
Consent to Release of Financial Records attached to this Order as
Attachment C.

NON-INTERFERENCE WITH REPATRIATION

IT Is FURTHER oRl)EREl) that Defendante, and eaeh efthen '

successors, assigns, members, officers, agents, servants, employees, and

attorneys, and those persons in active concert or participation with them who

receive actual notice of this Order by personal service or otherwise, whether

acting directly or through any entity, corporation, subsidiary, division,

affiliate or other device, are hereby temporarily restrained and enjoined from

taking any action, directly or indirectly, which may result in the

encumbrance or dissipation of foreign assets, or in the hindrance of the

repatriation required by Section XI of this Order, including but not limited

to:
A.

Sending any statement, letter, fax, e-mail or wire transmission,
telephoning or engaging in any other act, directly or indirectly, that
results in a determination by a foreign trustee or other entity that a
“duress” event has occurred under the terms of a foreign trust
agreement, until such time that all assets have been fully repatriated
pursuant to Section XI of this Order; and

Notifying any trustee, protector or other agent of any foreign trust or
other related entities of either the existence of this Order, or of the fact
that repatriation is required pursuant to a Court Order, until such time

that all assets have been fully repatriated pursuant to Section XI.

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FTC ACCESS TO BUSINESS PREMISES AND RECORDS
XIII. IT IS FURTHER ORDERED that:
A.

Plaintiff and Plaintiff s representatives, agents, contractors, or

assistants, are permitted and the Defendants shallallow immediate

access to any business premises and storage facilities of Defendants.

Such locations include, but are not limited to, the offices and facilities
of the Defendants at or in the vicinity of 8001 Irvine Center Drive,
Irvine, California and/or 30221 Aventure, 211d Floor, Rancho Santo
Margarita, California. Defendants shall allow Plaintiff into the
premises and facilities described in this Section and shall allow
Plaintiff and its representatives, agents, contractors, or assistants to
inspect, inventory, and copy documents relevant to any matter
contained in this Order, Counsel for Plaintiff may exclude 1
Defendants and their agents and employees from the business
premises and facilities during the immediate access.

Defendants and all agents or employees of Defendants shall provide
counsel for Plaintiff with any necessary means of access to’
documents, including, without limitation, the locations of Defendants’
business premises, keys and combinations to business premises locks,
computer access codes of all computers used to conduct Defendants’
business, and storage area access information

Counsel for Plaintiff shall have the right to remove any documents
related to Defendants’ business practices from the premises in order
that they may be inspected, inventoried, and copied. iThe materials so
removed shall be returned within five (5) business days of completing

said inventory and copying.

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If any property, records, documents, or computer files relating _to the
Defendants’ finances or business practices are located in the residence
of any Defendant or are otherwise in the custody or control of any
Defendant, then such Defendant shall produce them to counsel for
Plaintiff within twenty-four (24) hours of service of this Order, In
order to prevent the destruction of computer data, upon service of this
Order upon Defendants, any such computers shall be powered down
(turned off) in the normal course for the operating systems used on
such computers and shall not be powered up or used again until
produced for copying and inspection, along with any codes needed for
access.

In the event any of Defendants’ documents have been removed from
Defendants’ premises by, and are in the possession of another law `
enforcement or investigative agency, the FTC may have immediate
access to such documents for purposes of inspection, indexing, and
copying, subject to the agency consenting to access by the FTC.

The FTC’s access to the Defendants’ documents pursuant to this
Section shall not provide grounds for any Defendant to object to any
subsequent request for documents served by the FTC.

Plaintiff is authorized to employ the assistance of law enforcement
officers, including, but not limited to, the United States Postal
Inspection Service, Internal Revenue Service, and F ederal Bureau of
Investigation, to effect service, to implement peacefully the provisions

of this Order, and keep the peace.

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1~ ' PRESERVATION OF RECORDS
2 XIV. IT IS FURTHER ORDERED that Defendants, and each of their
3 successors, assigns, members, officers, agents, servants, employees, and
4 attomeys, and those persons in active concert or participation with them who
5 receive actual notice of this Order by personal service or otherwise, whether
6 acting directly or through any entity, corporation, subsidiary, division,
; affiliate or other device, are hereby temporarily restrained and enjoined from
9 destroying, erasing, mutilating, concealing, altering, transferring, or
10 otherwise disposing of, in any manner, directly or indirectly, any documents
11 that relate to the business practices or finances of any Defendant, including,
12 but not limited to, any contracts, accounting data, correspondence,
13 advertisements, computer tapes, disks or other computerized records, books,
14 written or printed records, handwritten notes, recordings, telephone logs,
15 telephone scripts, receipt books, ledgers, personal and business canceled
16 checks and check registers, bank statements, appointment books, copies of
17 federal, state, or»local business or personal income or property tax returns.
18 - PROHIBITION ON RELEASE OF CONSUMER INFORMATION
19 XV. IT IS FURTHER ORDERED that Defendants, and each of their
20 successors, assigns, members, officers, agents, servants, employees, and
:; attorneys, and those persons in active concert or participation with them who
22 receive actual notice of this Order by personal service or otherwise, whether
2 4 acting directly or through any entity, corporation, subsidiary, division,
25 affiliate or other device, are temporarily restrained and enjoined from
26 disclosing, using, or benefitting from customer information, including the
27 name, address, telephone number, email address, social security number,
28 other identifying information, or any data that enables access to a customer’s

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1 account (including a credit card, bank account, or other financial account),
2 of any person which any Defendant obtained prior to entry of this Order in
3 connection with any debt relief service,
4 LIMITED EXPEDITED DISCOVERY
5 XVI. IT IS FURTHER ORDERED that the FTC is granted leave to conduct
6' certain expedited discovery, and that, commencing With the time and date of
; this Order, in lieu of the time periods, notice provisions, and other
9 requirements of Rules 26, 30, 34, and 45 of the Federal Rules of Civil
10 Procedure, expedited discovery as to parties and non-parties shall proceed as
11 follows:
12 A. The FTC may, upon three (3) calendar days notice, take the deposition
13 of any person or entity, Whether or not a party, in any judicial district,
14 for the purpose of discovering: (1) the assets of Defendants; (2)
15 location of documents; and (3) compliance with this Order.
16 Depositions may be conducted telephonically or in person.
17 Deposition transcripts that have not been signed by the Witness may
18 be used at the preliminary injunction hearing in this matter. Provided
19 that, notwithstanding Federal Rule of Civil Procedure 30(a)(2), this
20 Section shall not preclude any future depositions by the FTC.
:; Provided further, that any deposition taken pursuant to this Section
23 ~ shall be in addition to, and not subject to, the presumptive limits on
24 depositions set forth in F ederal Rule of Civil Procedure 30(a)(2)(A).
25 B The FTC may serve interrogatories for the purpose of discovering:
26 (l) the assets of Defendants; (2) location of documents; and (3)
27 compliance with this Order. Defendants shall respond within five (5)
28 calendar days after the FTC serves such interrogatories Provided
Page 23 of 28

 

 

 

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XVII.

 

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that, notwithstanding Federal Rule of Civil Procedure 33(a)(1), this
Subsection shall not preclude any future interrogatories by the FTC.
The FTC may, upon five (5) calendar days notice, including through
the use of a Rule 45 Subpoena, demand the production of documents
from any person or entity, Whether or not a Defendant, relating to: (l)
the assets of Defendants; (2) location of documents; and (3)
compliance with this Order. Provided that two (2) calendar days
notice shall be deemed sufficient for the production of any such
documents that are maintained or stored only as electronic data.

The FTC is granted leave to subpoena documents immediately from
any financial institution, account custodian, or other entity or person
that holds, controls, or maintains custody of any account or asset of
any Defendant(s), or has held, controlled or maintained custody of any
account or asset of any Defendant(s) concerning the nature, location,
status, and extent of Defendants’ assets, and compliance with this
Order, and such financial institution, account custodian or'other entity
shall respond to such subpoena within five (5) business days after
service.

For purposes of discovery pursuant to this Section, service shall be

sufficient if made by facsimile or by overnight courier.
MONITORING

   
 
 
 
 

, agents, or
ct Defendants or Defendants’

directly and anonymously for

the purpose of mo ' oring compliance with ` Order, and may tape

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' s that occur in the course of mow

SERVICE OF THIS ORDER

` record any ora

contacts.

 

XVIII. IT IS FURTHER ORDERED that copies of this Order may be

served by facsimile transmission, personal or overnight delivery, or
U.S. Express Mail, by agents and employees of the FTC or any state
or federal law enforcement agency or by private process server, on
Defendants or any other persons or entities that may be subject to any

provision of this Order.
DISTRIBUTION OF ORDER BY DEFENDANTS

XIX. IT IS FURTHER ORDERED that Within three (3) calendar days after

service of this Order, Defendants shall provide a copy of this Order to each
of their agents, employees, directors, officers, subsidiaries, affiliates,
attorneys, independent contractors, representatives, franchisees, and all
persons in active concert or participation with Defendants Within five (5)
calendar days following this Order, Defendants shall provide the FTC With
an affidavit identifying the names, titles, addresses, and telephone numbers
of the persons that Defendants have served with a copy of this Order in
compliance with this provision.

CO~RRESPONDENCE WITH PLAINTIFF
IT IS FURTHER ORDERED that, for the purposes of this Order, because
mail addressed to the FTC is subject to delay due to heightened security
screening, all correspondence and service of pleadings on Plaintiff shall be
sent either via electronic transmission or via F ederal Express to: Gregory A.

Ashe, F ederal Trade Commission, 600 Pennsylvania Avenue, NW, Room

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1 NJ-3158, Washington, DC 20580. Email: gashe@ftc.gov; Telephone: (202)
2 326-3719; Facsimile: (202) 326-3768. 1

3 ORDER TO SHOW CAUSE AND PRELIMINARY INJUNCTION

4 HEARING

5 XXI. IT IS FURTHER ORDERED, pursuant to Federal Rule of Civil Procedure
6 65(b), that Defendants shall appear on theOM day of <%f%`/'? A€r ,

7 2012, at f30 a.m. at the United States Courthouse, Courtroom
: M, am Mle&&_@alifomia, to show cause, if any there be, why this

Court should not enter a preliminary injunction, pending final ruling on the

:(1) complaint, against Defendants, enjoining them from further violations of the
12 FTC Act, the Telemarketing Sale Rule, the EFTA, the Federal Reserve

13 Board’s Regulation E, and the Consumer Financial Protection Bureau’s

14 Regulation E, and imposing such additional relief as may be appropriate

15 SERVICE OF PLEADINGS, EVIDENCE, WITNESS LISTS

16 XXII. IT IS FURTHER ORDERED that:

17 A. Defendants shall file any answering affidavits, pleadings, or legal

18 memoranda with the Court and serve the same on counsel for the FTC
19 no later than five (5) business days prior to the preliminary injunction
20 hearing in this matter. The FTC may file responsive or supplemental
:; pleadings, materials, affidavits, or memoranda with the Court and

23 serve the same on counsel for Defendants no later than one (l)

24 business day prior to the preliminary injunction hearing in this matter.
25 Provided that service shall be performed by personal or overnight

26 delivery, facsimile, or email, and documents shall be delivered so that
27 they shall be received by the other parties no later than 4 p.m. (EST)
28 on the appropriate gates listed in this Subparagraph;

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XXIII.

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The question of whether this Court should enter a preliminary
injunction pursuant to Rule 65 of the Federal Rules of Civil Procedure
enjoining the Defendants during the pendency of this action shall be
resolved on the pleadings, declarations, exhibits, and memoranda filed
by, and oral argument of, the partie_s. Live testimony shall be heard
only on further order of this Court on motion filed with the Court and
served on counsel for the other parties at least five (5) business days
prior to the preliminary injunction hearing in this matter. Such motion
shall set forth the name, address, and telephone number of each
proposed witness, a detailed summary or affidavit disclosing the
substance of each proposed witness’ expected testimony, and an
explanation of why the taking of live testimony would be helpful to
this Court. Any papers opposing a timely motion to present live
testimony or to present live testimony in response to live testimony to
be presented by another party shall be filed with this Court and served
on the other parties at least three (3) business days prior to the
preliminary injunction hearing in this matter. Provided that service-
shall be performed by personal or overnight delivery or by facsimile
or email, and documents shall be delivered so that they shall be
received by the other parties no later than 4 p.m. (EST) on the
appropriate dates listed in this Sub-section.

DURATION OF ORDER
IT IS FURTHER ORDERED that the Temporary Restraining Order
granted herein shall expire on the M‘z/ day of

§@/,fp/W.k)£// , 2012, at _Lé o’clockavm~@ unless

within such time, the Order, for good cause shown, is extended for an

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XXIV. IT IS FURTHER ORDERED that this Court shall retain jurisdiction

in

additional period not to exceed ten (10) calendar days, or unless it is
further extended pursuant to F ederal Rule of Civil Procedure 65.
JURISDICTION

of this matter for all purposes.

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ATTACHMENT A

 

 

Case 8:12-cv-'01504-.]LS-Il/|in Document 17 Filed 09/10/12 *Pdge 30 of 63 Page |D #:506
FEDERAL TRADE COMMISSION

FINANCIAL STATEMENT OF INDIVIDUAL DEFENDANT

 

Instructions:

1. Complete all items. Enter “None” or “N/A” (“Not Ap`plicable”) where appropriate If you cannot fully answer a
question, explain why.

2. The font size within each field will adjust automatically as you type to accommodate longer responses.

3. “Dependents” include your live-in companion, dependent children, or any other person, whom you or your spouse

 

(or your children’s other parent) claimed or could have claimed as a dependent for tax purposes at any time during
the past five years.

4. “Assets” and “Liabilities” include ALL assets and liabilities, located within the United States or elsewhere,
whether held individually or jointly.

5. Attach continuation pages as needed. On the financial statement, state next to the Item number that the Item is
being continued On the continuation page(s), identify the Item number(s) being continued.

6. Type or print legibly.
7. Initial each page in the space provided in the lower right corner.

8. Sign and date the completed financial statement on the last page.

Penalg for False Information:

Federal law provides that any person may be imprisoned for not more than five years, fined, or both, if such person:

(1)' “in any matter within the jurisdiction of any department or agency of the United States knowingly and
Willfully falsifies, conceals or covers up by any trick, scheme, or device a material fact, or makes any false,
fictitious or fraudulent statements or representations, or makes or uses any false writing or document knowing the
Same to contain any false, fictitious or fraudulent statement or entry” ( 18 U.S.C. § 1001);

(2) “in any . . . statement under penalty of perjury as permitted under section 1746 of title 28, United States Code,
willfully subscribes as true any material matter which he does not believe to be true” (18 U.S.C. § 1621); or

(3) “in any (. . . statement under penalty of perjury as permitted under section 1746 of title 28, United States
Code) in any proceeding before or ancillary to any court or grand jury of the United States knowingly makes any
false material declaration or makes or uses any other information . . . knowing the same to contain any false
material-declaration” (18 U.S.C. § 1623).

F or a felony conviction under the provisions cited above, federal law provides that the fine may be not more than the
greater of (i) $250,000 for an individual or $500,000 for a corporation, or (ii) if the felony results in pecuniary gain to any
person or pecuniary loss to any person other than the defendant, the greater of twice the gross gain or twice the gross loss.
18 U.S.C. § 3571.

 

 

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BACKGROUND INFORMATION

 

 

 

 

 

 

 

 

 

 

M Information About You

Your Full Name Social Security No. '
Place of Birth Date of Birth Drivers License No.
Current Address From (Date)
Ren't or Own? Telephone No. Facsimile No.

E-Mail Address Internet Home Page

Previous Addresses for past five years:

Address Rent or Own? From/Until
Address . Rent or Own? From/Until

 

Identify any other name(s) and/or social security number(s) you have used, and the time period(s) during which they

 

 

were used

Item 2. Information About Your Spouse or Live-In Companion
Spouse/Companion's Name Social Security No.
Place of Birth Date of Birth

 

 

ldentify any other name(s) and/or social security number(s) your spouse/companion has used, and the time period(s)

during which they were used

 

 

Address (if different from yours)

 

 

 

 

 

From (Date) Rent or Own? Telephone No.
Employer’s Name and Address
Job Title Years in Present Job Annual Gross Salarny ages $
I_te_r_n_i Information About Your Previous Spouse
Previous Spouse’s Name & Address
Social Security No. Date of Birth

 

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Initials

 

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Item 4. Contact Information

 

Name & Address of Nearest Living Relative or Friend

 

 

 

 

 

 

 

 

 

 

 

 

 

Telephone No.
M Information About Dependents Who Live With You
>Name Date of Birth
Relationship \ Social Security No.
>Name Date of Birth
Relationship ' ' Social Security No.
>Name - Date of Birth
Relationship Social Security No.
It£n_§_. Information About Dependents Who Do Not Live With You
>Name & Address

 

Date of Birth Relationship Social Security No.

>Name Address

 

Date of Birth Relationship 2 Social Security No.

>Name & Address

 

Date of Birth Relationship Social Security No.
Item 7. Employment Information

Provide the following.information for this year-to-date and for each of the previous five full years, for each company of
which you were a director, officer, employee, agent, contractor, participant or consultant at any time during that period.
“Income” includes, but is not limited to, any salary, commissions, draws, consulting fees, loans, loan payments, dividends,
royalties or other benefits for which you did not pay (e.g., health insurance premiums, automobile lease or loan payments)
received by you or anyone else on your behalf.

 

>Company Name & Address

Dates Employed: From (Month/Year) To (Month/Year)

 

Positions Held with Beginning and Ending Dates

 

 

Page 3 ' Initials

 

 

 

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'Item 7. continued

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Income Received: This year-to-date: $ : $
20 : $ : $
: $ 2 $
>Company Name & Address
Dates Employed: From (Month/Year) To (Month/Year)
Positions Held With Beginning and Ending Dates
Income Received: This year-to-date: $ : $
20 : $ : $
: $ : $
>Company Name & Address
Dates Employed: From (Month/Year) To (Month/Year)
Positions Held with Beginning and Ending Dates
Income Received: This year-to-date: $ : $
20 : $ : $
: $ : $

 

 

Item 8.

Pending Lawsuits Filed by You or Your Spouse

l_,ist all pending lawsuits that have been filed by you or your spouse in court or before an administrative agency. (List
lawsuits that resulted in final judgments or settlements in Items 16 and 25).

Opposing Party’s Name & Address

 

Court’s Name & Address

 

Docket No. Relief Requested

Status

Nature of Lawsuit

 

 

Page 4

Initials

 

 

 

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Item 9. Pending Lawsuits Filed Against You or Your Spouse

List all pending lawsuits that have been filed against you or your spouse in court or before an administrative agency. (List
lawsuits that resulted in final judgments or settlements in Items 16 and 25).

Opposing Party’s Name & Address

 

Court’s Name & Address

 

Docket No. Relief Requested Nature of Lawsuit

Status b

 

Item 10. Safe Deposit Boxes
List all safe deposit boxes, located within the United States or elsewhere, held by you, your spouse, or any of your

dependents, or held by others for the benefit of you, your spouse, or any of your dependents On a separate page,
describe the contents of each box.

Owner’s Name Name & Address of Deposito;y Institution Box No.

 

 

 

Item 11. Business Interests
List all businesses for which you, your spouse, or your dependents are an officer or director.

>Business’ Name & Address

 

Business Format (e.g., corporation) Description of Business

 

Position(s) Held, and By Whom

 

 

>Business’ Name & Address

 

Business Format (e.g., corporation) - . Description of Business

 

Position(s) Held, and By Whom

 

 

>Business’ Name & Address

 

Business Format (e.g., corporation) Description of Business

Position(s) Held, and By Whom

 

 

Page 5 Initials

 

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FINANCIAL INFORMATION: ASSETS AND LIABILITIES

 

REMINDER: “Assets” and “Liabilities” include ALL assets and liabilities, located within the United States or
elsewhere, whether held individually or jointly.

Item 12. Cash, Bank, and Money Market Accounts

List cash and all bank and money market accounts, including but not limited to, checking accounts, savings accounts, and -
certificates of deposit, held by you, your spouse, or your dependents or held by others for the benefit of you, your spouse,
or your dependents The term “cash” includes currency and uncashed checks

 

 

 

 

 

 

 

 

 

 

Cash on Hand $ Cash Held For Your Benefit $
Name on Account Name & Address of Financial Institution Account No. Q_Lgr_§_r_r_t
wm
$
$
$
$
$
M U.S. Government Securities

List all U.S. Government securities including but not limited to, savings bonds, treasury bills, and treasury notes, held by
you, your spouse, or your dependents, or held by others for the benefit of you, your spouse, or your dependents.

 

 

Name on Account Type of Obligation Securig; Amount Maturity> Date
1 $
t

 

Page 6 Initials

 

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Item 14. Publicly Traded Securities and Loans Secured by Them

List all publicly traded securities, including but not limited to, stocks stock options registered and bearer bonds state and
municipal bonds and mutual funds, held by you, your spouse, or your dependents or held by others for the benefit of you,
your spouse, or your dependents

>Issuer Type of Security . No. of Units Owned

 

Name on Security ' Current Fair Market Value $ Loan(s) Against Security $

 

 

 

Broker House, Address , Broker Account No.
>Issuer ~ Type of Security No. of Units Owned
Name on Security Current Fair Market Value $ Loan(s) Against Security $
Broker House, Address Broker Account No.
_Item_lS. Other Business Interests

List all other business interests, including but not limited to, non-public corporations subchapter-S corporations limited
liability corporations (“LLCS”), general or limited partnership interests joint ventures sole proprietorships and oil and
mineral leases held by you, your spouse, or your dependents, or held by others for the benefit of you, your spouse, or
your dependents

 

 

 

 

 

 

 

 

 

 

 

 

 

FBusiness Format Business’ Name & Address

Ownership %
Owner (e.g., self, spouse) z Current Fair Market Value $
>Business Format Business’ Name & Address

Ownership %
Owner (e.g., self, spouse) y Current Fair Market Value $
Item 16. Monetary Judgments or Settlements Owed to You, Your Spouse, or Your Dependents
List all monetary judgments or settlements owed to you, your spouse, or your dependents
>Opposing Party’s Name & Address
Court’s Name & Address Docket No.
Nature of Lawsuit Date of Judgment Amount $
>Opposing Party’s Name & Address
Court’s Name & Address . Docket No.
Nature of Lawsuit Date of Judgment Amount $

 

Page 7 Initials

 

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Item 17. Other Amounts Owed to You, Your Spouse, or Your Dependents

List all other amounts owed to you, your spouse, or your dependents

 

Debtor’s Name, Address & Telephone No.

Original Amount Owed $ Current Amount Owed $ Monthly Payment $

Item 18. Life Insurance Policies
List all life insurance policies held by you, your spouse,'or your dependents

>Insurance Company’s Name, Address & Telephone No. v

 

Insured Beneficiary Face Value $

 

Policy No. Loans Against Policy $ Surrender Value $

>Insurance Company’S Name, Address & Telephone No.

 

 

 

 

Insured Beneficiary Face Value $
Policy No. Loans Against Policy $ Surrender Value $
Item 19. Deferred Income Arrangements

List all deferred income arrangements including but not limited to, deferred annuities pensions plans profit-sharing
plans _40l(k) plans IRAs, Keoghs and other retirement accounts, held by you, your spouse, or your dependents or held
by others for the benefit of you, your spouse, or your dependents

>Name on Account ` Type of Plan Date Established

Trustee or Administrator’s Name, Address & Telephone No.

 

 

Account No. » Surrender Value $

>Narne on Account Type of Plan Date Established

Trustee or Administrator’s Name, Address & Telephone No.

 

 

Account No. Surrender Value $

Page 8 _ Initials

 

 

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Item 20. Personal Property

 

List all personal property, by category, whether held for personal use or for investment, including but not limited to,
furniture and household goods of value, computer equipment, electronics coins Stamps artwork, gemstones, jewelry,
bullion, other collectibles copyrights patents and other intellectual property, held by you, your spouse, or your
dependents or held'by others for the benefit of you, your spouse, or your dependents

 

 

 

 

 

 

Prop_e;g; Category Name of Owner Propeg Location Acguisition _Cgrre_nt_
je.g., artwork, jewelry) Q_o_st _V_alu_e
$ $
$ $
z s s
$ $
$ $
$ $
Item 21. Cars, Trucks, Motorcycles, Boats, Airplanes, and Other Vehicles

List all cars trucks motorcycles boats airplanes and other vehicles owned or operated by you, your spouse, or your
dependents or held by others for the benefit of you, your spouse, or your dependents

>Vehicle'Type Make Model Year

 

Registered Owner’s Name Registration State & No.

 

Address of Vehicle’s Location

Purchase Price $ Current Value $ Account/Loan No.

 

Lender’s Name and Address

 

 

 

 

Original Loan Amount $ Current Loan Balance $ Monthly Payment $
>Vehicle Type Make Model Year
Registered Owner’s Name Registration State & No.

 

 

Address of Vehicle’s Location

 

Purchase Price $ Current Value $ Account/Loan No.

 

Lender’s Name and Address

 

Original Loan Amount $ Current Loan Balance $ Monthly Payment $

Page 9 Initials

 

 

 

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Item 21. Continued

Model Year

 

 

 

Registered Owner’s Name

 

 

Address of Vehicle’s Location

 

Purchase Price $

Lender’s Name and Address

 

 

>Vehicle Type Make
Registration State & No.
Current Value $ Account/Loan No.
Current Loan Balance $ Monthly Payment $

Original Loan Amount $

Item 22. Real Property

List all real estate held by you, your spouse, or your dependents or held by others for the benefit of you, your spouse, or

your dependents

>Type of Property
1\Iame(s) on Title and Ownership Percentages
Acquisition Date Purchase Price $
Basis of Valuation'
Lender’s Name and Address

Current»Balance On First Mortgage $

Other Loan(s) (describe)

Property’s Location

Current Value $

Loan or Account No.`

Monthly Payment $

Current Balance $

 

Monthly Payment $ Rental Unit?

>Type of Property
,Name(s) on Title and Ownership Percentages
Acquisition Date Purchase Price $
Basis of Valuation
Lender’s Name and Address
Current Balance On First Mortgage $
Other Loan(s) (describe)

Monthly Payment $ Rental Unit?

Page 10

Monthly Rent Received $

Property’s Location

Current Value $

Loan or Account No.

 

Monthly Payment $
. Current Balance $

- Monthly Rent Received $

Initials

 

 

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Item 23. Credit Cards

List each credit card held by you, your spouse, or your dependents Also list any other credit cards that you, your spouse,
or your dependents use.

 

 

 

 

 

 

Name of Credit Card ge.g., Visa, Account No. Name(s! on wit Minimum
MasterCard, Departrnent Store) w _IM_ Monthly Payment
$ $
$ $
$ $
$ $
$ $
$ $
M¢_ll Taxes Payable

List all taxes such as income taxes or real estate taxes owed by you, your spouse, or your dependants.

 

 

 

 

Type of Tax Amount Owed Year Incurred
$
$
$
$
m__Z__§: Judgments or Settlements Owed

List all judgments or settlements owed by you, your spouse, or your dependents
Opposing Party’s Name & Address
Court’s Name & Address Docket No.

Nature of Lawsuit Date Amount $

Page l 1 4 Initials

 

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Item 26. Other Loans and Liabilities
List all other loans or liabilities in your, your spouse's or your dependents’ names

>Name & Address of Lender/Creditor

 

 

 

Nature of Liability Name(s) on Liability
Date of Liability Amount Borrowed $ Current Balance $
Payment Amount $ Frequency of Payment

>Name & Address of Lender/Creditor

 

 

 

 

Nature of Liability Name(s) on Liability
Date of Liability Amount Borrowed $ Current Balance $
Payment Amount $ Frequency of Payment

OTHER FINANCIAL INFORMATION

Item 27. Tax Returns

List all federal tax returns that were filed during the last three years by or on behalf of you, your spouse, or your
dependents Provide a copy of each signed tax return that was filed during the last three years.

 

 

 

Tax Year Name1 51 on Retum Refund Expected
3 .
$
$
Item 28. Applications for Credit

List all applications for bank loans or other extensions of credit that you, your spouse, or your dependents have submitted
within the last two years Provide a copy of each application, including all attachments

Nameg s) on Application Name & Address of Lender

 

 

 

Page 12 Initials

 

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Item 29. Trusts and Escrows

List all funds or other assets that are being held in trust or escrow by any person or entity for you, your spouse, or your
dependents Also list all funds or other assets that are being held in trust or escrow by you, your spouse, or your
dependents for any person or entity. Provide copies of all executed trust documents

 

 

 

 

 

 

Trustee or Escrow Agent’s Q_a_t§ M Beneficiaries Present Market
Name & Address Established _ Value of Assets

$

$

$

$

$

Item- 30. Transfers of Assets

List each person to whom you have transferred, in the aggregate, more than $2,500 in funds or other assets during the ` `
previous three years by loan, gift, sale, or other transfer. For each such person, state the total amount transferred during

that period.

 

 

 

 

 

 

 

Transferee’s Name, Address & Relationship Br_oM Ag`gregate Transfer Type of Transfer
Transferred Va_lue w 1e. g., Loan, Gifc[
$ ,
$
$
$
$
$
$

 

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SUMMARY FINANCIAL SCHEDULES

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Item 31. Combined Balance Sheet for You, Your Spouse, and Your Dependents
ASSETS LIABILITIES

Cash on Hand Credit Cards

(ltem 12) $ (ltem 23) $

Cash in Financial Institutions Motor Vehicles - Liens

(ltem 12) ' $ (Item 21) $

U.S. Government Securities Real Property - Encumbrances

(ltem 13) $ (ltem 22) ' $

Publicly Traded Securities Loans Against Publicly Traded Securities

(ltem 14) $ (ltem 14) $

Other Business Interests Taxes Payable

(ltem 15) $ (ltem 24) $

Judgments or Settlements Owed Judgments or Settlements Owed

to You (ltem 16) $ . (ltem 25) $

Other Amounts Owed to You Other Loans and Liabilities

(ltem 17) $ (ltem 26) $

Surrender Value'of Life Insurance n

(ltem 18) l $ Other Liabilities (ltemize)

Deferred Income Arrangements ` 4

(ltem 19) $ $

Personal Property

(ltem 20) $ $

Motor Vehicles

(ltem 21) $ $

Real Property -

(ltem 22) $ _ $

Other Assets (Itemize) $

$ $
$ $
$ $
$ $

Total Assets $ Total Liabilities $

Page 14 Initials

 

 

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Item 32. Combined Average Monthly Income and Expenses for You, Your Spouse, and Your Dependents for `
the Last 6 Months , §

Provide the average monthly income and expenses for you, your spouse, and your dependents for the last 6 months Do
not include credit card payments separately; rather, include credit card expenditures in the appropriate categories 1

 

 

 

 

 

 

 

INCOME EXPENSES .
Salary - Aiter Taxes $ Mortgage Payments for Residence(s) $
Fees Commissions and Royalties $ Property Taxes for Residence(s) $
_ Rental Property Expenses Including
Interest $ Mortgage Payments, Taxes, and Insurance $
Car or Other Vehicle Lease or Loan

Dividends and Capital Gains $ ` Payments $

Gross Rental Income $ Food Expenses $

Profits from Sole Propn'etorships $ ` Clothing Expenses $ »

Distributions from Partnerships

S-Corporations, and LLCS $ Utilities $

n Distributions from Trusts and

Estates $ t Medical Expenses Including Insurance $

Distributions from Deferred 4

Income Arrangements $ Other Insurance Premiums $

Social Security Payments $ Other Transportation Expenses $

Alimony/Child Support Received $ Other Household Expenses $

Gambling Income $ ` Other Expenses (Itemize)

Other Income (Itemize) $

$ $
$ $
$ $

Total Income $ Total Expenses - $

Page 15 / Initials

 

 

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ATTACHMENTS
Item 33. Documents Attached to this Financial Statement

List all documents that are being submitted with this financial statement 1

Item No. Document Description of Document
Relates To

 

 

 

 

 

 

 

 

 

 

 

I am submitting this financial statement with the understanding that it may affect action'by the Federal Trade
Commission or a federal court. l have used my best efforts to obtain the information requested in this statement The
responses I have provided to the items above are true and contain all the requested facts and information of which I have
notice or knowledge. l have provided all requested documents in my custody, possession, or control. I know of the
penalties for false statements under 18 U.S.C. § 1001, 18 U.S.C. § 1621, and 18 U.S.C. § 1623 (five years imprisonment
and/or fines). 1 certify under penalty of perjury under the laws of the United States that the foregoing is true and correct.

Executed on:

 

 

(Date) ` Signature

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ATTACHMENT B

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FEDERAL TRADE COMMISSION

FINANCIAL STATEMENT OF CORPORATE DEFENDANT

 

Instructions:

l. Complete all items Enter “None” or "N/A" (“Not Applicable”) where appropriate If you cannot fully answer a
question, explain why. 4

2. The font size within each field will adjust automatically as you type to accommodate longer responses

3. In completing this financial statement, “the corporation” refers not only to this corporation but also to each of its

' predecessors that are not named defendants in this action.

4. When an Item asks for information about assets or liabilities “held by the corporation,” include ALL such assets
and liabilities located within the United States or elsewhere, held by the corporation or held by others for the
benefit of the corporation

5. Attach continuation pages as needed. On the financial statement, state next to the Item number that the Item is
being continued On the continuation page(s), identify the Item number being continued.

6. Type or print legibly.

7. An officer of the corporation must sign and date the completed financial statement on the last page and initial

each page in the space provided in the lower right corner.

Penalty for False Information:

Federal law provides that any person may be imprisoned for not more than five years fined, or both, if such person:

(1) “in any matter within the jurisdiction of any department or agency of the United States knowingly and
willfully falsifies conceals or covers up by any trick, scheme, or device a material fact, or makes any false,
fictitious or fraudulent statements or representations or makes or uses any false writing or document knowing the
same to contain any false, fictitious or fraudulent statement or entry” (18 U.S.C. § 1001);

(2) “in any . . . statement under penalty of perjury as permitted under section 1746 of title 28, United States Code,
willfully subscribes as true any material matter which he does not believe to be true” (18 U.S.C. § 1621); or

(3) “in any (. . . statement under penalty of perjury as permitted under section 1746 of title 28, United States
Code) in any proceeding before or ancillary to any court or grand jury of the United States knowingly makes any
false material declaration or makes or uses any other information . . . knowing the same to contain any false
material declaration.” (18 U.S.C. § 1623)

F or a felony conviction under the provisions cited above, federal law provides that the fine may be not more than the
greater of (i) $250,000 for an individual or $500,000 for a corporation, or (ii) if the felony results in pecuniary gain to any
person or pecuniary loss to any person other than the defendant, the greater of twice the gross gain or twice the gross loss
18 U.S.C. § 3571.

 

 

 

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Item 1. General Information

Corporation’s Full Name

BACKGROUND INFORMATION

 

 

 

 

Primary Business Address From (Date)
Telephone No. F ax No.
E-Mail Address lntemet Home Page

 

 

All other current addresses & previous addresses for past five years including post office boxes and mail drops:

 

 

 

 

 

 

 

 

Address From/Until
Address From/Until
Address From/Until

All predecessor companies for past five years:

Name & Address From/Until
Name & Address From/Until
Name & Address From/Until
Iteml: Legal Information

Federal Taxpayer ID No. State & Date of Incorporation

State Tax ID No. State Profit or Not For Profit

 

Corporation’s Present Status: Active

Inactive Dissolved

 

 

 

 

If Dissolved: Date dissolved By Whom

Reasons

Fiscal Year-End (Mo./Day) Corporation’s Business Activities
Item 3§ Registered Agent

Name of Registered Agent

 

 

Address

Telephone No.

 

Page 2

Initials

Item 4. Principal Stockholders

v List all persons and entities that own at least 5% of the corporation’s stock.

11 Name & Address

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v :% Owned

 

 

 

 

 

item 5. Board Members

List all members of the corporation’s Board of Directors.

Name & Address

% Owned Term gFrom/Untill

 

 

 

 

 

Item 6. Officers

List all of the corporation’s officers including de facto officers (individuals with significant management responsibility

whose titles do not reflect the nature of their positions).

Name & Address

% Owned

 

 

 

 

 

Page 3

Initials

 

 

 

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Item 7. Businesses Related to the Corporation

List all corporations partnerships and other business entities in which this corporation has an ownership interest.

Name & Address Business Activities % Owned

 

 

 

 

State which of these businesses if any, has ever transacted business with the corporation

 

Item 8. Businesses Related to Individuals

List all corporations partnerships and other business entities in which the corporation’s principal stockholders board
members or officers (i.e., the individuals listed in Items 4 - 6 above) have an ownership interest.

lndividual’s Name Business Name & Address Business Activities % Owned

 

 

 

State which of these businesses if any, have ever transacted business with the corporation

 

 

Item 9. Related Individuals

List all related individuals with whom the corporation has had any business transactions during the three previous fiscal
years and current fiscal year-to-date. A “related individual” is a spouse, sibling, parent, or child of the principal
stockholders board members and officers (i.e., the individuals listed in Items 4 - 6 above).

Name and Address ' Relationship Business Activities

 

 

 

 

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Item 10. Outside Accountants

List all outside accountants retained by the corporation during the last three years

Name Firm Name Address CPA/PA?

 

 

 

 

 

 

Item 11. Corporation’s Recordkeeping

List all individuals within the corporation with responsibility for keeping the corporation’s financial books and records for
the last three years

Name, Address & Telephone Number ' ' Position(s) Held

 

 

 

 

Item 12. Attorneys

List all attorneys retained by the corporation during the last three years

Name Firrn Name Address

 

 

 

 

 

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Item 13. Pending Lawsuits Filed by the Corporation

List all pending lawsuits that have been filed by the corporation in court or before an administrative agency. (List
lawsuits that resulted in final judgments or settlements in favor of the corporation in Item 25).

Opposing Party’s Name & Address

Court’s Name & Address

 

Docket No. Relief Requested Nature of Lawsuit

Status

 

 

Opposing Party’s Name & Address

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Court’s Name & Address

Docket No. Relief Requested n Nature of Lawsuit
Status b

Opposing Party’s Name & Address

Court’s Name & Address

Docket No. l Relief Requested Nature of Lawsuit
Status

Opposing Party’s Name & Address

Court’s Name & Address

Docket No. Relief Requested Nature of Lawsuit
Status

Opposing Party’s Name & Address

Court’s Name & Address

Docket No. Relief Requested Nature of Lawsuit
Status

Opposing Party’s Name & Address

Court’s Name & Address

Docket No. Relief Requested Nature of Lawsuit
Status

 

 

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Item 14. Current Lawsuits Filed Against the Corporation

List all pending lawsuits that have been filed against the corporation in court or before an administrative agency. (List
lawsuits that resulted in final judgments settlements or orders in Items 26 - 27).

Opposing Party’s Name & Address

Court’S Name & Address

 

Docket No. Relief Requested Nature of Lawsuit

Status

 

 

Opposing Party’s Name & Address

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Court’s Name & Address

Docket No. Relief Requested Nature of Lawsuit
Status

Opposing Party’s Name & Address

Court’s Name & Address

Docket No. Relief Requested Nature of Lawsuit
Status

Opposing Party’s Name & Address

Court’s Name & Address

Docket No. Relief Requested Nature of Lawsuit
Status

Opposing Party’s Name & Address

Court’s Name & Address

Docket No. Relief Requested Nature of Lawsuit

/ Status

Opposing Party’s Name & Address

Court’s Name & Address

Docket No. Relief Requested Nature of Lawsuit
Status

 

 

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Item 15. Bankruptcy Information

 

List all state insolvency and federal bankruptcy proceedings involving the corporation

 

 

 

Commencement Date Termination Date Docket No.
If State Court: Court & County lf Federal Court: District
Disposition

Item 16. Safe Deposit Boxes

List all safe deposit boxes, located within the United States or elsewhere, held by the corporation, or held by others for the
benefit of the corporation, On a separate page, describe the contents of each box.

Owner’s Name Name & Address of Depository lnstitution Box No.

 

 

 

 

 

FINANCIAL INFORMATION
REMINDER: When an Item asks for information about assets or liabilities “held by the corporation,” include
A___L_L such assets and liabilities, located within the United States or elsewhere, held by the corporation or held by
others for the benefit of the corporation,

Item 17. Tax Returns

List all federal and state corporate tax returns filed for the last three complete fiscal years. Attach copies of all returns

 

 

M/ Tax Year T_a)g_DM Maid "_l`_a_)_c__Dg M Preparer’s Name
State/Both M_l_ §§de w _S_tat_e
$ $ $ $
$ $ $ $
$ $ $ $

 

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Item 18. Financial Statements

List all financial statements that were prepared for the corporation’s last three complete fiscal years and f`or the current
fiscal year-to-date. Attach copies of all statements providing audited statements if available

Year Balance Sheet Profit & Loss Statement Cash Flow Statement Changes in Owner’s Eguig; Audited?

 

 

 

 

Item 19. Financial Summary

For each of the last three complete fiscal years and for the current fiscal year-to-date for which the corporation has not
provided a profit and loss statement in accordance with Item 18 above, provide the following summary financial
information

 

 

 

 

Current Year-to-Date l Year Ago 2 Years Ago 3 Years Ago
Gross Revenue $ $ $ v $
Expenses $ $ $ $
'Net Profit After Taxes $
Payables $
Receivables $
M Cash, Bank, and Money Market Accounts

List cash and all bank and money market accounts, including but not limited to, checking accounts, savings accounts, and
certificates of deposit, held by the corporation, The term “cash” includes currency and uncashed checks.

 

 

 

 

 

Cash on Hand $ Cash Held for the Corporation’s Benefit $
Name & Address of Financial Institution Si nator s on Account Account No. Current
“'°’°'"°_ _ Balance
$
$
$
$

 

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Item 21. Government Obligations and Publicly Traded Securities
List all U.S. Government obligations, including but not limited to, savings bonds, treasury bills, or treasury notes, held by
the corporation Also list all publicly traded securities, including but not limited to, stocks, stock options, registered and

bearer bonds, state and municipal bonds, and mutual funds, held by the corporation.

Issuer Type of Security/Obligation

 

No. of Units Owned Current Fair Market Value $ ' Maturity Date

 

 

Issuer Type of Security/Obligation
No. of Units Owned Current F air Market Value $ Maturity Date
Item 22. Real Estate

List all real estate, including leaseholds in excess of` five years, held by the corporation.
Type of Property Property’s Location

Name(s) on Title and Ownership Percentages

 

Current Value $ Loan or Account No.

 

Lender’s Name and Address
Current Balance On First Mortgage $ Monthly Payment $
Other Loan(s) (describe) Current Balance $

Monthly Payment $ Rental Unit? Monthly Rent Received $

Type of Property Property’s Location

Name(s) on Title and Ownership Percentages

 

Current Value $ Loan or Account No.
Lender’s Name and Address
Current Balance On First Mortgage $ Monthly Payment $

Other Loan(s) (describe) Current Balance $

Monthly Payment $ Rental Unit? Monthly Rent Received $

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Item 23. Other Assets

List all other property, by category, with an estimated value of $2,500 or more, held by the corporation, including but not
limited to, inventory, machinery, equipment, furniture, vehicles, customer lists, computer software, patents, and other

intellectual property.

Proper_ty Category

Item 24. Trusts and Escrows

Property Location

Acguisition Current
Cost Value

List all persons and other entities holding funds or other assets that are in escrow or in trust for the corporation

Trustee or Escrow Agent’s
Name & Address

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Description and Location of` Assets

Present Market
Value of Assets

Initials

 

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Ith_Z_§z Monetary Judgments and Settlements Owed To the Corporation

List all monetary judgments and settlements, recorded and unrecorded, owed to the corporation
Opposing Party’s Name & Address
Court’s Name & Address Docket No.

Nature of Lawsuit Date of` Judgment Amount $

 

Opposing Party’s Name & Address

 

 

Court’s Name & Address Docket No.
Nature of Lawsuit Date of Judgment Amount $
item 26. Monetary Judgments and Settlements Owed By the Corporation

List all monetary judgments and settlements, recorded and unrecorded, owed by the corporation
Opposing Party’s Name & Address
Court’s Name & Address Docket No.

Nature of Lawsuit Date Amount $

 

Opposing Party’s Name & Address
Court’s Name & Address Docket No.

Nature of Lawsuit Date of Judgment ' Amount $
Opposing Party’s Name & Address
Court’s Name & Address Docket No.

Nature of Lawsuit Date of Judgment v Amount $
Opposing Party’s Name & Address
Court’s Name & Address ` n Docket No.`
Nature of Lawsuit Date of Judgment Amount $
Opposing Party’s Name & Address
Court’s Name & Address Docket No.

Nature of Lawsuit _ Date of Judgment Amount $

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Item 27. Government Orders and Settlements

List all existing orders and settlements between the corporation and any federal or state government entities.

 

 

 

 

 

Name of Agency ' Contact Person

Address Telephone No. `
Agreement Date Nature of Agreement

Item 28. Credit Cards

List all of the corporation’s credit cards and store charge accounts and,the individuals authorized to use them.

Name of Credit Card or Store Names of` Authorized Users and Positions Held

 

 

 

 

 

Item 29. Compensation of Employees ’

List all compensation and other benefits received from the corporation by the five most highly compensated employees,
independent contractors, and consultants (other than those individuals listed in Items 5 and 6 above), for the two previous
fiscal years and current fiscal year-to-date. “Compensation” includes, but is not limited to, salaries, commissions,
consulting f`eeS, bonuses, dividends, distributions, royalties, pensions, and profit sharing plans. “Other benefits” include,
but are not limited to, loans, loan payments, rent, car payments, and insurance premiums, whether paid directly to the
individuals, or paid to others on their behalf.

 

 

 

 

 

Name/Position Current Fiscal l Year Ago 2 Years Ago Compensation or
Year-to-Date Type of Benefits

$ $ $

$ $ $

$ $ $

$ $ $

$ $ $

 

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Item 30. Compensation of Board Members and Officers

List all compensation and other benefits received from the corporation by each person listed in Items 5 and 6, for the
current fiscal year-to-date and the two previous fiscal years. “Compensation” includes, but is not limited to, salaries,
commissions, consulting fees, dividends, distributions, royalties, pensions, and profit sharing plans. “Other benefits”
include, but are not limited to, loans, loan payments, rent, car payments, and insurance premiums, whether paid directly to
the individuals, or paid to others on their behalf.

 

 

 

 

 

 

 

 

 

 

Name/Position Current Fiscal l Year Ago 2 Years Ago . Compensation or
Year-to-Date Type of Benefits
$ $ $
$ $ $
$ $ $
$ $ $
$ $ $
$ ’$ $
_ $ $ $ f
$ $ $
_I_t_M Transfers of Assets Including Cash and Property

List all transfers of assets over $2,500 made by the corporation, other than in the ordinary course of business, during the
previous three years, by loan, gift, sale, or other transfer.

Transferee’s Name, Addressl & Relationship Propem; Aggregate Transfer Type of Transfer

 

 

 

 

 

Transferred V_alg s _D_at_¢_: le.g., Loan, ciift[
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Item 32. Documents Attached to the Financial Statement

List all documents that are being submitted with the financial statementl

Item No. Document Description of Document
Relates To

 

 

 

 

 

 

 

 

 

 

l am submitting this financial statement with the understanding that it may affect action by the Federal Trade
Comrnission or a federal court. I have used my best efforts to obtain the information requested in this statement, The
responses I have provided to the items above are true and contain all the requested facts and information of which I have
notice or knowledge. 1 have provided all requested documents in my custody, possession, or control. I know of the
penalties for false statements under 18 U.S.C. § 1001, 18 U.S.C. § 1621, and 18 U.S.C. § 1623 (five years imprisonment
and/or fines). I certify under penalty of perjury under the laws of the United States that the foregoing is true and correct.

Executed on:

 

 

(Date) ' Signature

 

Corporate Position

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ATTACHMENTC

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CONSENT TO RELEASE FINANCIAL RECORDS

I, , of

 

 

(City, State), do hereby direct any bank,
saving and loan association, credit union, depository institution, finance company, commercial
lending company, credit card processor, credit card processing entity, automated clearing house,
network transaction processor, bank debit processing entity, brokerage house, escrow agent,
money market or mutual fund, title company, commodity trading company, trustee, or person
that holds, controls, or maintains custody of assets, wherever located, that are owned or
controlled by me or at which there is an account of any kind upon which I arn authorized to
draw, and its officers, employees, and agents, to disclose all information and deliver copies of all
documents of very nature in its possession or control which relate to the said accounts to any
attorney of the Federal Trade Commission, and to give evidence relevant thereto, in the matter of l n
the Federal Trade Commission v. Nelson Gamble & Associates LLC, et al., now pending in the
United States District Court of the Central District of California, and this shall be irrevocable
authority for so doing.

This direction is intended to apply to the laws of countries other than the Unites States of
=America which restrict or prohibit disclosure of bank or other financial information without the
consent of the holder of the account, and shall be construed as consent with respect hereto, and

the same shall apply to any ofche accounts for which I may be a relevant principal.

Dated: Signature:

 

_ Printed Name:

 

 

